                                COURT OF APPEALS FOR THE
                           FIRST DISTRICT OF TEXAS AT HOUSTON

                                           ORDER

Appellate case name:     Wayne Eugene Allsup v. The State of Texas

Appellate case number:   01-18-00054-CR

Trial court case number: CR-16-0695

Trial court:             22nd District Court of Hays County

        Appellant’s court-appointed counsel filed a brief concluding that the above-
referenced appeal is frivolous. See Anders v. California, 386 U.S. 738, 744, 87 S. Ct. 1396,
1400 (1967). Appellant, acting pro se, has filed a motion requesting access to a copy of the
appellate record for use in preparing a response to appointed counsel’s brief. See Kelly v.
State, 436 S.W.3d 313, 315, 318–20 (Tex. Crim. App. 2014).
       We grant the motion and order the trial court clerk, no later than 10 days from the
date of this order, to provide a copy of the record, including the clerk’s record, the
reporter’s record, and any supplemental records, to the appellant. The trial court clerk shall
further certify to this Court, within 15 days of the date of this order, the date upon which
delivery of the record to the appellant is made. Finally, appellant’s response to his
appointed counsel’s brief shall be filed within 45 days of the date of this order.
       It is so ORDERED.

Judge’s signature: /s/ Jennifer Caughey
                    Acting individually    Acting for the Court


Date: August 14, 2018
